                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

UNITED STATES OF AMERICA,                        )
                                                 )
              Plaintiff,                         )
                                                 )
v.                                               )      No.:   3:07-CR-51
                                                 )             (VARLAN/SHIRLEY)
AARON BROOKS,                                    )
                                                 )
              Defendant.                         )


                      MEMORANDUM OPINION AND ORDER

       This criminal case is before the Court on defendant Aaron Brooks’s (“Brooks”)

Motion for Judgment of Acquittal or in the Alternative for a New Trial and for an Extension

of Time (the “motion for acquittal or new trial”) [Doc. 550]. The United States has

responded in opposition [Doc. 562]. Also before the Court is Brooks’s Motion to Adopt Co-

Defendant’s Motion to Vacate Judgment and Grant New Trial (the “motion to adopt”) [Doc.

617], in which Brooks moves the Court to allow his adoption of the Motion to Vacate

Judgment and Grant a New Trial (“motion to vacate”) [Doc. 610], filed by Lashonda Hall

(“Hall”), a co-defendant in this case. The government has not filed a response to the motion

to adopt. However, the government filed a response to the motion to vacate when that

motion was filed in the Hall case [Doc. 611].

       The Court has reviewed the pending motions and the government’s response to the

motion for acquittal or new trial, all in light of the relevant and controlling law. For the

reasons that follow, the motion to adopt [Doc. 617] will be granted, the adopted motion to



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vacate [Doc. 610] will be denied, and the motion for acquittal or new trial [Doc. 550] will

be denied.

I.     BACKGROUND

       Brooks, along with fourteen co-defendants, was charged with conspiracy to distribute

drugs and other related charges in a multiple-count second superseding indictment [see Doc.

224]. In June 2009, Brooks, along with co-defendant Hall, proceeded to a jury trial before

the Honorable Thomas A. Varlan, United States District Judge [see Docs. 519-36]. At the

close of proof, Brooks and Hall, each through counsel, made motions for judgments of

acquittal pursuant to Rule 29(a) of the Federal Rules of Criminal Procedure [see Doc. 586,

pp. 181-92]. The Court denied the motions [Id., pp. 191-92].

       On June 19, 2009, the jury returned a verdict, finding Brooks guilty on the following

counts: count one, conspiracy to distribute and possession with intent to distribute cocaine

hydrochloride, crack, marijuana, and ecstacy, in violation of 21 U.S.C. §§ 846 and

841(b)(1)(A), 841(b)(1)(C) and 841(b)(1)(D); count seven, aided and abetted by another and

in possession of a firearm in furtherance of the drug conspiracy charged in count one, in

violation of 18 U.S.C. §§ 924(c) and 2; count eight, aided and abetted by another and in

possession with intent to distribute five-hundred (500) grams or more of cocaine

hydrochloride, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B) and 18 U.S.C. § 2;

count nine, aided and abetted by another and in possession of a firearm in furtherance of the

conspiracy charged in count eight, in violation of 18 U.S.C. §§ 924(c) and 2; and count ten,



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being a felon and aided and abetted in the possession of a firearm, in violation of 18 U.S.C.

§§ 922(g)(1) and 2 [see Docs. 224, 537].

        Brooks filed the instant motion for acquittal or new trial [Doc. 550] on June 30, 2009.

In the motion for acquittal or new trial, Brooks also requested an extension of time to file

post-trial motions, because, at the time of the filing, the trial transcript was not yet available.

The proceedings of the trial were transcribed and available to the parties on September 2,

2009 [see Docs. 580-86]. Brooks has not submitted any post-trial motion or supplemental

post-trial motion since the trial transcripts became available. On March 30, 2010, the Court

entered an Order [Doc. 614], granting Brooks’s request for an extension of time to file post-

trial motions or supplemental post-trial motions, up to and including seven (7) days from the

entry of that Order. The Court also permitted the government seven (7) days to respond. On

April 6, 2010, Brooks filed the motion to adopt [Doc. 617] the motion to vacate [Doc. 610].

The government has not filed a response to the motion to adopt [Doc. 610] but has previously

responded, in the Hall case, to the motion to vacate [Doc. 611].

II.     ANALYSIS

        A.     Motion to Adopt

        The Court first turns to the motion to adopt [Doc. 617], in which Brooks moves the

Court to allow adoption of the motion to vacate [Doc. 610], filed in the Hall case. In support,

Brooks states that the motion to vacate sets forth facts and law germane and relevant to this

case. The motion to adopt will be granted.



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       The Court previously considered and denied the motion to vacate filed by defendant

Hall [Doc. 616]. In addition, the Court previously considered and denied [see Doc. 612] a

substantively similar motion involving the same two affidavits [see Docs. 521, 571-1, 592-1],

filed by defendant Johnnie Martin (“Martin”). The motion filed by defendant Martin was the

first motion to reference the two affidavits which were also filed with the motion to vacate

filed by defendant Hall and now, requested to be adopted by defendant Brooks.

       In the motion to adopt, Brooks has provided no other facts, legal argument, citations

to the record, or affidavits supporting the motion to vacate. Accordingly, and for the reasons

stated in the Court’s previous two orders denying the arguments contained in the motion to

vacate [see Doc. 612; Doc. 616], and because no other reasons have been cited by Brooks

and no argument advanced as to why this Court should deviate from its prior

rulings—denying both the Martin and the Hall motions—the Court declines to deviate from

its prior rulings and Brooks’s adopted motion to vacate [Doc. 610] is likewise denied.

       B.      Motion for Acquittal or New Trial1

       The Court now turns to the motion for acquittal or new trial, brought pursuant to Rule

29(c) and Rule 33(a) of the Federal Rules of Criminal Procedure. In this motion, Brooks

requests that the Court grant a judgment of acquittal on grounds that the evidence at trial was

insufficient to support his convictions. Alternatively, and pursuant to Rule 33(a) of the



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        Neither Brooks nor the government have submitted citations to the transcript of this trial
in support of their arguments. The transcript of this trial has been available since September 2,
2009.

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Federal Rules of Criminal Procedure, Brooks requests a new trial based on insufficient

evidence, prosecutorial misconduct, arguments regarding jury composition and selection,

errors in the Court’s ruling on various pre-trial motions, errors related to witness testimony,

and various errors at trial. The government has responded in opposition, stating that there

was sufficient evidence at trial to support the verdicts of the jury, the allegations of

prosecutorial misconduct are unfounded, and the other alleged errors are without merit.

       C.      Sufficiency of the Evidence Under Rule 29(c) and Rule 33(a)

       A Rule 29(c) motion is a challenge to the sufficiency of the evidence, raised following

a jury verdict or discharge. See Fed. R. Crim. P. 29(c).2 When reviewing an insufficiency

of the evidence claim, a court must decide whether, after viewing the evidence in a light most

favorable to the government, any rational trier of fact could have found the essential elements

of the crime beyond a reasonable doubt. United States v. Gardner, 488 F.3d 700, 710 (6th

Cir. 2007); Jackson v. Virginia, 443 U.S. 307, 319 (1979). In undertaking this analysis, the

court can neither independently weigh the evidence, nor judge the credibility of the witnesses

who testified at trial. See United States v. Welch, 97 F.3d 142, 148 (6th Cir. 1996), cert.

denied sub nom., Parker v. United States, 519 U.S. 1134 (1997). After a review of the

evidence, a court may conclude that a conviction is supported by sufficient evidence even

though the circumstantial evidence does not “‘remove every reasonable hypothesis except


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         Brooks moved for a judgment of acquittal at the close of proof, pursuant to Federal Rule
of Criminal Procedure 29(a). The Court denied the motion, and thus, the instant motion is a renewed
motion for judgment of acquittal pursuant to Rule 29(c) [see Doc. 586, pp. 181-92]. See Fed. R.
Crim. P. 29(a), (c).

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that of guilt.’” United States v. Jones, 102 F.3d 804, 807 (quoting United States v. Clark,

928 F.2d 733, 736 (6th Cir. 1991) (per curiam)). In making this evaluation, the sufficiency

of the evidence must be viewed in terms of the entirety of the record. United States v. Stone,

748 F.2d 361, 363 (6th Cir. 1984). Circumstantial evidence standing alone may sustain a

conviction so long as the totality of the evidence is substantial enough to establish guilt

beyond a reasonable doubt. Id.

       Brooks has also brought a challenge to the sufficiency of the evidence in this case by

moving for a new trial under Federal Rule of Criminal Procedure Rule 33(a). See Fed. R.

Crim. P. 33(a). A motion for a new trial under Rule 33(a) “may be premised upon the

argument that the jury’s verdict was against the manifest weight of the evidence.” United

States v. Hughes, 505 F.3d 578, 593 (6th Cir. 2007). Generally, a motion for a new trial

under Rule 33(a) should only be granted “in the extraordinary circumstances where the

evidence preponderates heavily against the verdict.” Hughes, 505 F.3d at 593 (citation

omitted). In considering a Rule 33(a) challenge to a conviction based on the weight of the

evidence, a court can “consider the credibility of the witnesses and the weight of the evidence

to insure that there is not a miscarriage of justice. It has often been said that . . . [the judge]

sits as a thirteenth juror.” United States v. Ashworth, 836 F.2d 260, 266 (6th Cir. 1988)

(internal quotation omitted).

       Thus, while Rule 29(c) and Rule 33(a) deal with similar issues, the two rules are

governed by different standards of review. On a motion for judgment of acquittal, pursuant

to Rule 29(c), a court is required to approach the evidence from a standpoint most favorable

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to the government, and to assume the truth of the evidence offered by the prosecution. On

a motion for new trial pursuant to Rule 33(a), the power of a court is much broader because

a court may weigh the evidence and consider the credibility of the witnesses. See Charles

Alan Wright, Nancy King & Susan Klein, Federal Practice and Procedure § 553 (3d ed.

2004).

         Brooks argues that based on the evidence produced at trial, no rational trier of fact

could have found the essential elements of the crimes charged beyond a reasonable doubt.

Specifically, Brooks asserts that no drugs, firearms, or “untoward” sums of money were

found on him and his fingerprints were not found on any drug containers, firearms, or any

other surfaces.      Brooks also asserts that there were no surveillance photos of drug

transactions, no testimony regarding any specific wrongful acts, no GPS tracking of cell

phones linked to him, and a complete lack of proof as to any inference of criminal conduct.

In light of the broader scope of Rule 33(a), the Court will first address the arguments

pursuant to that rule.

                1.       Drug Charges

          Brooks was convicted of conspiracy to distribute and possession with intent to

distribute cocaine hydrochloride, crack, marijuana, and ecstacy in violation of 21 U.S.C. §§

846 and 841(b)(1)(A), 841(b)(1)(C) and 841(b)(1)(D). Brooks was also convicted of being

in possession with intent to distribute cocaine hydrochloride in violation of 21 U.S.C. §§

841(a)(1) and 841(b)(1)(B) and 18 U.S.C. § 2, which confers aider and abetter liability. To

prove a charge of drug conspiracy under 21 U.S.C. § 846, the government must prove,

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beyond a reasonable doubt: (1) an agreement to violate drug laws; (2) knowledge of and

intent to join the conspiracy; and (3) participation in the conspiracy. United States v.

Martinez, 430 F.3d 317, 330 (6th Cir. 2005). No formal agreement is necessary to prove a

charge of conspiracy; rather, “‘a tacit or material understanding among the parties’” is

sufficient. Id. (quoting United States v. Avery, 128 F.3d 966, 970-71 (6th Cir. 1997) (citation

omitted)). The existence of a conspiracy may also be shown by direct evidence or inferred

from circumstantial evidence. Avery, 128 F.3d 971.

       To prove a defendant guilty as an aider and abettor, the government must prove,

beyond a reasonable doubt: (1) knowing and intentional possession of drugs; (2) knowledge

that the substance was drugs; and (3) intent to distribute the drugs. United States v. Phibbs,

999 F.2d 1053, 1063 (6th Cir. 1993). The statute for aider and abetter liability provides that

“[w]hoever directly commits any act constituting an offense defined in any law of the United

States, or aids, abets, counsels, commands, induces or procures its commission, is punishable

as a principle [in the offense].” 18 U.S.C. § 2(a).

       Counsel for Brooks acknowledged, in opening and closing arguments, and throughout

his cross-examination of witnesses, that Martin was the leader of a drug-trafficking

organization and operated drug houses throughout Knoxville. The government produced

evidence through cooperating witness testimony and recorded phone conversations that

indicated Brooks’s involvement in Martin’s drug-trafficking organization. Evidence was also

put forth that in May 2007, law enforcement agents executed search warrants on Martin’s



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drug houses and seized drugs, cash, drug scales, and firearms. A law enforcement agent also

testified that drugs seized from these houses were packaged for distribution purposes.

       Evidence at trial showed that in the house where Brooks lived with Tavares Smith

(“Smith”), law enforcement officers seized cocaine, ecstasy pills, firearms, cell phones, and

digital scales. A law enforcement agent testified that the digital scales seized from the house

were used to weigh drugs. One of the seized cell phones was subscribed to by Brooks and

the other was subscribed to by Hall. The jury was shown the contact lists in the cell phones

which included the names and aliases known to be used by members of Martin’s drug

organization. Additionally, at the time the house was searched, Smith, Martin, Hall, and

Kenyatta Bankston (“Bankston”) were found in the kitchen and living areas of the house and

Brooks was found hiding in a closet.

       Smith, who lived in the same house as Brooks, testified that he met Brooks in early

2007 and that Brooks provided security to Smith, who sold drugs from the house. Smith

testified that Brooks would answer the door if someone came to purchase drugs or drop off

money. Smith also testified that if he was not at home, Brooks would give drugs and receive

money for the drug transactions. Smith also testified that both he and Brooks kept guns on

them at all times.

       In addition to Smith’s testimony, the government presented recordings of phone

conversations between Brooks and Smith and between Martin and Smith. The substance of

these recorded phone conversations was the drug organization and indicated that Brooks

talked with members of the drug organization about matters relating to the amount of drugs

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being moved and the amount of money being taken in. The recorded conversations contained

references to aliases known to refer to members of Martin’s drug organization and also

contained slang known to be used for drugs terms. Recorded conversations between Brooks

and Smith indicated that the two discussed a certain black scale seized from one of the drug

houses which was used to weigh drugs. The conversations also contained references to

individuals involved in drug dealing activities. The government also presented evidence of

calls received on a wiretap which indicated that Martin planned to send Brooks to Mississippi

to sell drugs and provide security for Tony Manning (“Manning”). One call indicated that

Martin had directed Manning to split the profits from drug sales with Brooks.

       Upon the Court’s review of this evidence, there is no question that the government put

forward sufficient evidence to establish the elements of the drug charges against Brooks. The

government produced evidence and testimony that Brooks was involved in conversations

about drug deals and that he engaged in conversations related to Martin’s drug organization.

These conversations also showed that other members of the drug conspiracy discussed

Brooks’s role in the drug organization. Finally, the recorded phone conversations indicated

that other members of the drug organization discussed security issues with each other and

Brooks. Brooks argues that there were no GPS tracking of a cell phone purported to be his,

and that the subscriber information of the seized cell phones was “wholly unreliable . . . due

to [its] . . . unverified nature[,] . . . identity theft . . . and the practice of drug dealers to use

multiple phones and false . . . identities.” [Doc. 550, p.2]. However, despite thse assertions,

Brooks has offered no evidence as to why the subscriber information in this case was

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unreliable. Moreover, Brooks has offered no evidence to counteract the evidence of the

known aliases contained in the contact lists found in these cell phones.

       There was also evidence presented at trial that drugs were seized from drug houses

that Brooks either lived in or was found to be associated with. When a search warrant was

executed at one of the drug houses, Brooks was found in the closet of that house. There was

also evidence that Brooks facilitated the sale of drugs in furtherance of the drug organization

by receiving money, assisting in drug distribution, and providing security to members of the

drug organization.

       Drugs do not have to be found on a person or in a person’s blood for a jury to

conclude that a defendant has engaged in a drug conspiracy, possessed and intended to

distribute drugs, and aided and abetted a conspiracy to possess and distribute drugs. In fact,

the existence of a conspiracy may be inferred from circumstantial evidence. Avery, 128 F.3d

971. A jury presented with the above evidence, both circumstantial and direct, could

reasonably conclude and infer that Brooks was involved in the drug conspiracy and aided and

abetted drug transactions in furtherance of such conspiracy. The testimony of the witnesses,

while not all consistent, was sufficient for a rational jury to conclude that Brooks acted with

members of the conspiracy to promote, aid, or abet the conspiracy and that he was involved

in various drug transactions because he provided security to the members of the drug

organization. See 18 U.S.C. § 2. Thus, based on this evidence, the Court cannot conclude

that the interests of justice require a new trial and the jury’s verdict was against the manifest

weight of the evidence. This is not a case of extraordinary circumstances or one in which the

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evidence preponderates heavily against the verdict.             See Hughes, 505 F.3d at 593.

Accordingly, Hall’s argument that the drug convictions were against the weight of the

evidence is hereby denied.

               2.      Firearms Offenses

       Brooks also argues that no rational trier of fact could have found the essential

elements of the firearms offenses beyond a reasonable doubt because “no weapons were

found on [Brooks’s] person.” [Doc. 550, p. 2]. In order to prove that Brooks aided and

abetted the possession of a firearm in furtherance of the drug trafficking offenses discussed

above, the government must prove the requirements of aider and abettor liability and that a

firearm was possessed in furtherance of a drug transaction. United States v. Mackey, 265

F.3d 457, 461-62 (6th Cir. 2001) (noting that the government must prove that “a firearm was

possessed to advance or promote the commission of the underlying [drug trafficking]

offense”). “In order for the possession to be in furtherance of a drug crime, the firearm must

be strategically located so that it is quickly and easily available for use.” Mackey, 265 F.3d

at 462.3 Thus, the elements the government must prove are: (1) commission of the

underlying drug trafficking offenses; (2) knowing possession of a firearm; and (3) possession

of a firearm in furtherance of the specified drug trafficking offenses. See 18 U.S.C. §

924(c)(1); see, e.g., United States v. Stewart, 69 F. App’x 213, 217 (6th Cir. 2003).


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          “Other factors that may be relevant to a determination of whether the weapon was
possessed in furtherance of a crime include whether the gun was loaded, the type of weapon, the
legality of its possession, the type of activity conducted, and the time and circumstances under which
the firearm was found.” Mackey, 265 F.3d at 462 (citation omitted).

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       As stated above, there was sufficient evidence by which the jury could have found

Brooks guilty of the drug charges. The jury was also presented with evidence that two

firearms were recovered from the house where Brooks lived with Smith. Smith testified that

Martin required all members of his drug organization to have firearms, and that Martin had

given Smith two firearms to keep at their house, one for him, and one for Brooks. Firearms

were also found in the same place as the drug scales in the house occupied by Brooks and

Smith. Martin Briddy (“Briddy”) testified that Martin kept firearms in all his drug houses

and Briddy also stated that he had seen firearms in at least two of the other drug houses

operated by Martin. Mashato Lamar (“Lamar”) testified that Brooks was sitting in one of the

drug houses with a firearm on the floor beside him and that in a conversation with Martin

about Brooks, Martin told Lamar that Brooks watched the drug house while Smith made drug

runs. Manning also testified that the members of Martin’s drug organization kept firearms

at all of the drug houses to deter robbers. Finally, as stated above, Manning testified that

Martin planned for Brooks to go to Mississippi to provide security for Manning, similar to

what Brooks had done for Smith in Knoxville. The recorded phone conversation between

Martin and Manning, submitted by the government, supported Manning’s assertion.

       This evidence is sufficient for a reasonable jury to conclude and infer that Brooks

possessed firearms in furtherance of the drug charges described above, as required by 18

U.S.C. § 924(c). Firearms were found in the house he shared with Smith, testimony

indicated that Martin gave firearms to both Smith and Brooks, and Lamar testified that he

saw Brooks with a firearm. Further, the evidence and testimony indicated that Brooks’s

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primary job with the drug conspiracy was to protect and provide security for its members,

so clearly, his possession of firearms was in furtherance of that as well. Accordingly,

Brooks’s argument in this regard is denied.

              3.     Felon in Possession

       Brooks, aided and abetted by another, was also convicted of being a felon in

possession of a firearm pursuant to 18 U.S.C. § 922(g)(1). In addition to establishing aider

and abetter liability, the government must prove, beyond a reasonable doubt, the following

three elements: (1) that Brooks had been convicted of a crime punishable by a term of

imprisonment exceeding one year; (2) that Brooks knowingly possessed a firearm or

ammunition; and (3) that such possession was in or affecting interstate or foreign commerce.

See United States v. Sawyer, 409 F.3d 732, 735 (6th Cir. 2005).

       As to the first element, Brooks stipulated that he was a convicted felon. As to the

second element, as stated above, the government put forth sufficient evidence by which the

jury could have concluded that Brooks knowingly possessed firearms, at least jointly, with

others involved in the conspiracy. As to the third element, the government presented

testimony from a witness qualified by the Court to give an opinion on the interstate nexus of

the firearms in this case. The agent testified that the firearms seized from the house where

Brooks resided were manufactured outside the state of Tennessee and had traveled in and

affected interstate commerce. Brooks has not provided any evidence to the contrary.

Accordingly, there was also sufficient evidence to sustain this conviction and this argument

is denied.

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              4.      Sufficiency of the Evidence

       In sum, the jury considered evidence of recorded conversations, wiretaps, firearms,

cell phones, contact lists, and drug scales. The jury also heard testimony from law

enforcement agents and cooperating witnesses. Brooks, through counsel, had the opportunity

at trial to challenge the credibility of these witnesses and to thoroughly cross-examine each

regarding their credibility and any inconsistent statements. Brooks also had the opportunity

to put forth, by witness or otherwise, legitimate justifications for his actions. The province

of the jury is to weigh the evidence and determine which explanation of the circumstances,

the events, and the facts are the most credible. It is also the duty of the jury to consider the

parties’ explanation of the evidence established at trial and to make a decision based on that

evidence.

       In light of the evidence and testimony presented in this case, the Court finds that the

evidence presented at trial was sufficient to support the convictions. After considering the

evidence and testimony, a rational trier of fact could have determined that Brooks was

involved in the drug conspiracy, the underlying drug transactions, and that Brooks aided and

abetted the possession of firearms in furtherance of the drug offenses, such firearms having

traveled in interstate commerce. Thus, the Court finds neither a miscarriage of justice nor

that the weight of the evidence was against the verdict. Accordingly, Brooks has not

sustained his burden under Rule 33(a). Given this determination, the Court need not




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determine whether Brooks has established the less stringent burden required for his renewed

Rule 29 motion4 and both requests are hereby denied.

       D.     Arguments for a New Trial Pursuant to Rule 33(a)

       Federal Rule of Criminal Procedure 33(a) permits a court, upon motion by a

defendant, to vacate a judgment and grant a new trial “if the interest of justice so requires.”

Fed. R. Crim. P. 33(a). Brooks asserts that he was denied a fair trial because: (a) of

prosecutorial misconduct; (b) a lack of minority representation in the jury venire; (c) the

Court rule improperly on Brooks’s Batson challenge; (d) the Court’s denial of the motions

to sever; (e) errors in the admission of exhibits; (f) errors in admitting the testimony of

cooperating witnesses and in permitting perjured testimony; (g) the Court’s refusal to redact

name identifiers from the transcripts of recorded phone conversations; (h) alleged pressure

by the Court on counsel for Brooks to truncate his cross-examination of government

witnesses; (i) the Court’s denial of Brooks’s pretrial motion for a bill of particulars; and (j)

errors in the admission, at trial, of statements of co-conspirators.

              1.      Prosecutorial Misconduct

       Brooks raised the issue of prosecutorial misconduct during trial, an argument which

was rejected by the Court. Here, Brooks asserts prosecutorial misconduct in connection with

counsel for the government’s closing and rebuttal arguments and in the tone of the statements

and questioning by counsel for the government during jury selection. Brooks has given the


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         Brooks made his first Rule 29 motion following the close of proof at trial. The Court
denied the motion.

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Court no specific statement or citation to the transcript to support his argument. Thus, the

Court will not re-visit its previous denials of Brooks’s argument regarding prosecutorial

misconduct, as Hall has not articulated any new arguments or evidence. See, e.g., United

States v. Tocco, 200 F.3d 401, 420 (6th Cir. 2000) (stating that “[w]hen reviewing claims of

prosecutorial misconduct, we determine first whether the statements were improper. If they

appear improper, we then look to see if they are flagrant and warrant reversal.”); United

States v. Stover, 474 F.3d 904, 915-16 (6th Cir. 2007) (noting, in the context of closing

arguments, the standards for determining whether a prosecutor’s comments are “flagrant”).

The Court cannot judge whether a statement or statements were improper without being

presented with a statement, or, at the very least, a general summation of the statements.

Accordingly, Brooks’s argument in this regard is denied.

              2.     The Venire

       Brooks asserts that the venire in this case was devoid of any minority representation,

save one African-American female, and that the composition of the venire denied him due

process, equal protection, and the right to trial by an impartial jury. At trial, Brooks moved

to dismiss the venire and call a new venire, or, in the alternative, for a mistrial. The Court

denied both requests.

       “The Sixth Amendment requires that the jury venire from which a jury is selected

represent a ‘fair cross-section’ of the community.” United States v. Odeneal, 517 F.3d 406,

411-12 (6th Cir. 2008) (quoting United States v. Allen, 160 F.3d 1096, 1103 (6th Cir. 1998)).

In Duren v. Missouri, the United States Supreme Court held that a defendant may establish

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a prima facie fair cross-section violation by showing: (1) that the group alleged to be

excluded is a distinctive group in the community; (2) that the representation of this group in

venires from which juries are selected is not fair and reasonable in relation to the number of

such persons in the community; and (3) that this underrepresentation is due to systematic

exclusion of the group in the jury-selection process. Duren, 439 U.S. 357, 364 (1979). The

government may rebut this prima facie case by showing that “a significant state interest [is]

manifestly and primarily advanced by those aspects of the jury-selection process . . . that

result in the disproportionate exclusion of a distinctive group.” Id. at 367-68. Duren and its

progeny make “crystal clear that a defendant’s prima facie case includes all three of the

above elements and each must be established before the government is required to justify an

infringing selection procedure.” Allen, 160 F.3d at 1103 (finding that while the defendants

may have satisfied the first element, the defendants had not met their burden of proving the

final two elements); see Duren, 439 U.S. at 367-69; Ford v. Seabold, 841 F.2d 677, 681 (6th

Cir. 1988).

       Brooks has the burden of showing the three prongs of the Duren test. Brooks has

failed to meet this burden. Addressing the first prong, the Court will assume that the

minority group identified by Brooks (presumably “African-Americans,” although Brooks has

alleged lack of representation of “any minority race or ethnic group” ) is a distinctive group

within this community. However, as to the second prong, Brooks has not made any showing

that the panel from whence the jury was chosen was not a fair and reasonable representation



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of the community made up of the counties from which this Court draws its jurors.5 Duren,

439 U.S. at 364-65 (stating that the defendant must demonstrate the percentage of the

community made up of the group alleged to be under-represented). Furthermore, as to the

third prong, Brooks has made no showing of a systematic exclusion of a particular group

from the jury selection process. As the Sixth Circuit Court of Appeals has stated,

                [D]efendants must show more than that their particular panel
                was unrepresentative. Duren requires us to look at the venires
                from which juries are selected, . . . and it has long been the case
                that defendants are not entitled to a jury of any particular
                composition-only to a panel from which distinctive groups were
                not systematically excluded.

Ordeneal, 517 F.3d at 412 (quoting Allen, 160 F.3d at 1103 (quoting Taylor v. Louisiana,

419 U.S. 522, 538 (1975))) (citations omitted). Therefore, because Brooks has done nothing

more then make the general assertion that the jury in this case was drawn from a venire that

included no minority persons or persons from an ethnic group, Brooks’s argument for a new

trial on these grounds is denied and the Court will not revisit its prior holdings on Brooks’s

motions to dismiss the venire or, in the alternative, to grant a mistrial.




        5
           The Knoxville Courthouse serves the Northern Division of the Eastern District of
Tennessee. It is the policy of the District Court for the Eastern District of Tennessee “that all
litigants in this court entitled to a trial by jury shall have the right to grand and petit juries selected
at random from a fair cross-section of the community in each division where the court convenes.”
[See Standing Order In Re: Amendment of Jury Plan (amended Feb. 24, 2009), available at
http://156.125.44.74/docs/local_rules/orders/jury_selection_plan.pdf.] The Northern Division
comprises the counties of Anderson, Blount, Campbell, Claiborne, Grainger, Jefferson, Knox,
Loudon, Monroe, Morgan, Roane, Scott, Sevier and Union counties. [Id.]

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              3.     The Batson Challenge

       Brooks argues that the government’s peremptory strike of the one African-American

female juror in the venire violated his due process and equal protection rights and his right

to a fair and impartial jury. In Batson v. Kentucky, 476 U.S. 79 (1986), the Supreme Court

articulated the three-step process a trial court is required to use in determining whether the

opponent of a peremptory challenge has established a prima facie case of racial

discrimination:

              (1)    a defendant must first make a prima facie showing that the
                     prosecutor has exercised peremptory challenges on the basis of
                     race,

              (2)    the burden then shifts to the prosecutor to articular a race-neutral
                     explanation for striking the juror in question, and

              (3)    the trial court must then determine whether the defendant has
                     carried his burden of proving purposeful discrimination.

See Hernandez v. New York, 500 U.S. 352, 358-59 (1991) (citing Batson, 476 U.S. at 96-99).

A race-neutral explanation has been defined as “an explanation based on something other

than the race of the juror.” Hernandez, 500 U.S. at 360.

       As stated above, the venire in this case had only one female African-American juror.

The government used one of its peremptory challenges to strike the juror, and Brooks

objected.   The government then provided two explanations for the strike. First, the

government asserted that it struck the juror because her grandson had been convicted of drug

and gun charges similar to the charges in this case and the grandson had been incarcerated

for nine and a half years because of those convictions. Although the juror was unsure if the

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convictions and trial took place in Knoxville, the government confirmed that the grandson

had indeed been prosecuted by the Knoxville office of the United States attorneys. Second,

the government stated that another reason it struck the juror was because she did not disclose

the above information about her grandson when initially asked by the Court whether any

family members had been involved in the criminal justice system. The juror explained that

she had not answered because she did not understand the Court’s question. The government

expressed concern that if the juror was unable to understand this question or pick up clues

from the statements of her fellow prospective jurors in response to this question, she may not

be suitable as a juror as this was a complicated case.

       Based on a totality of the circumstances, the Court found that the government’s

explanations were sufficiently race-neutral, based on something other than the juror’s race,

and there was no evidence of purposeful racial discrimination. Accordingly, the Court found

that Brooks had not met his burden of proving racial motivation in the government’s strike

of the juror. The Court finds no reason to re-visit this determination. It is both plausible and

persuasive that the government, in prosecuting a case that involved both drugs and guns, did

not desire a juror on the case who had a family member convicted and imprisoned for similar

crimes. No other prospective juror who had a family member convicted of similar crimes

was allowed to remain on the jury. It is also plausible and persuasive that the government

would not have wanted a juror who either did not understand a question that other jurors

understood, or, if the juror did understand the question, to have withheld information from



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the Court. Thus, Brooks’s argument that the Court’s denial of the Batson challenge at trial

was improper and warrants a new trial is denied.

              4.     Motions to Sever

       Brooks argues that the Court’s denial of the motions to sever, submitted both pre-trial

and during trial, were an “abuse of discretion” because the defense strategies of Hall and

Brooks were antagonistic. Brooks has not stated a specific “strategy” that was antagonistic,

but the Court assumes that this argument is based on the testimony of Smith, whose cross-

examination by counsel for Brooks was the impetus for Hall filing a motion to sever during

the trial, a motion which Brooks joined.

       “A strong policy presumption exists in favor of joint trials when charges will be

proved by the same evidence and result from the same acts.” United States v. Critton, 43 F.3d

1089, 1098 (6th Cir, 1995) (citing United States v. Hamilton, 689 F.2d 1262, 1275 (6th

Cir.1982)). Severance will be granted “only if there is a serious risk that a joint trial would

compromise a specific trial right of one of the defendants, or prevent the jury from making

a reliable judgment about guilt or innocence.” Zafiro v. United States, 506 U.S. 534 (1993);

see also United States v. Davis, 170 F.3d 617 (6th Cir. 1999). Antagonistic defenses alone

are not enough; the defendant must show that the antagonistic defenses are likely to mislead

or confuse the jury. Critton, 43 F3d at 1098; United States v. Weiner, 988 F.2d 629, 634 (6th

Cir.), cert. denied, 510 U.S. 848 (1993). A defendant must show “substantial,” “undue,” or

“compelling” prejudice in order to gain a severance. United States v. Lopez, 309 F.3d 966,

971 (6th Cir. 2002) (citations omitted).

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       In a case with facts similar to those presented in this case, United States v. Bond, 22

F.3d 662 (6th Cir. 1994), the defendant moved for a mid-trial severance based on the counsel

for the co-defendant’s cross-examination of a government witness. Bond, 22 F.3d at 666.

On direct examination, the witness testified that he had seen the co-defendant spend money

from a large bundle of cash at a mall the day after the robbery that was the subject of the

charges. Id. During cross-examination, the co-defendant’s attorney asked the witness about

an earlier statement he made that he had seen the defendant at the mall with over a thousand

dollars. Id. Counsel for the defendant counsel argued for a severance stating that “it appears

that I have two prosecutors here.” Id. The district court denied the defendant’s motion for

a severance and the Sixth Circuit affirmed.

       Similarly, the Court here finds that a severance in this case would be inappropriate.

Brooks has not presented the Court with any evidence of “strong prejudice” and has not

demonstrated that Smith’s testimony on cross-examination misled or confused the jury.

Moreover, Smith’s testimony was largely a repeat of other testimony elicited by the

prosecution. Accordingly, this argument is denied.

              5.     Admission of Exhibits

       Brooks simply asserts that the Court’s failure to admit his exhibits at trial violated his

constitutional rights. Brooks has not cited any law, nor has Brooks pointed the Court to any

particular exhibit or exhibits. Thus, due to lack of supporting argument or grounds upon

which the Court can analyze this argument, it is denied.



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              6.     Testimony of Cooperating Witnesses and Perjured Testimony

       Brooks asserts that the government’s use of Smith, Briddy, Lamar, and Manning as

witnesses constitutes a knowing use of perjured testimony in violation of Brooks’s

constitutional rights. In order to show that the government put on testimony that it knew to

be false, Brooks must show that: (1) the statements were actually false; (2) the statements

were material; and (3) the prosecution knew them to be false. See United States v. Hunter,

558 F.3d 495, 504 (6th Cir. 2009); United States v. Benton, 64 F. App’x 914, 920-21 (6th

Cir. 2003). Brooks has not sustained this burden of proving that the government knowingly

put forth false testimony. Brooks has not provided any statement or statements from the trial

as illustrations of perjured testimony. Brooks has not asserted that any statement or

statements were material. And finally, Brooks has not provided any evidence that the

government knew any witness statement to be false rather than inconsistent. Witnesses often

testify to inconsistent facts and events and sometimes testimony by witnesses is clearly

contradictory and “‘mere inconsistencies in testimony by government witnesses do not

establish knowing use of false testimony.’” United States v. Scarborough, 43 F.3d 1021,

1026 (6th Cir. 1994) (quoting United States v. Lochmondy, 890 F.2d 817, 822 (6th Cir.

1989)). Moreover, it is the province of the jury to determine which witnesses and which set

of facts are the most credible. Brooks’s argument is denied.

              7.     Redaction of Names from Transcripts

       Brooks asserts that the Court’s denial of his motion to remove the name identifiers

from the transcripts of the recorded conversations presented as evidence in this case was in

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error because determining the identity of the individuals in the transcripts was the ultimate

task of the jury. Federal Rule of Evidence 901(b)(5) provides that a witness may identify or

authenticate the voice or speaker on a tape if he or she has heard “the voice at any time under

circumstances connecting it [the voice] with the alleged speaker.” Fed. R. Evid. 901(b)(5).

At trial, Smith, who had lived with Brooks in the same house, identified the voice on the

recorded conversations as that of Brooks. Counsel for Brooks had the opportunity to cross-

examine Smith regarding his ability to identify the voice. See United States v. Crane, 632

F.2d 663, 664-64 (1980) (holding that when a witness who was subject to cross-examination

identified the defendant’s voice on recorded tapes, the defendant “should not be heard to

complain” regarding the identification). Thus, because Smith was able to identify Brooks’s

voice, and because counsel for Brooks had an opportunity to discredit such identification, the

Court does not find that its refusal to remove the name identifiers was in error.

              8.     Alleged Truncation of Cross-Examination of Smith

       Brooks alleges that the Court pressured counsel for Brooks to truncate his cross-

examination of Smith because the Court disagreed with defense counsel’s strategy and such

pressure was a violation of Brooks’s right to assistance of counsel, among other

constitutional rights.   The Court disagrees with this characterization of the Court’s

instructions to counsel for Brooks regarding his cross-examination of Smith.              The

Confrontation Clause of the Sixth Amendment does not prevent a trial judge from imposing

any limits on defense counsel’s inquiry into the potential bias of a prosecution witness.



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               On the contrary, trial judges retain wide latitude insofar as the
               Confrontation Clause is concerned to impose reasonable limits on such
               cross-examination based on concerns about, among other things,
               harassment, prejudice, confusion of the issues, the witness’ safety, or
               interrogation that is repetitive or only marginally relevant. . . . the
               Confrontation Clause guarantees an opportunity for effective cross-
               examination, not cross-examination that is effective in whatever way,
               and to whatever extent, the defense might wish.

Delaware v. Van Arsdall, 475 U.S. 673, 678-79 (1986) (quoting Delaware v. Fensterer, 474

U.S. 15, 20 (1985) (per curiam)) (quotations omitted) (emphasis in original). At trial, the

Court did not pressure counsel for Brooks to truncate his cross-examination of Smith.

Rather, the Court determined that counsel’s attempts to impeach Smith were unnecessarily

repetitive and marginally relevant. Accordingly, the Court was within its authority to impose

a limitation on the cross-examination. Further, the Court only suggested that counsel for

Brooks move on to another line of questioning and this was not in violation of Brooks’s right

to be confronted with the witnesses against him.

               9.     Bill of Particulars

       Brooks asserts that the Court’s denial of his pre-trial motion for a bill of particulars

violated his right to assistance of counsel, among other constitutional rights. In proving a trial

court’s error in denying a bill of particulars, “the defendant must show not only that the court

abused its discretion, but that defendant actually suffered surprise or other prejudice at trial.”

United States v. Crayton, 357 F.3d 560 (6th Cir. 2004) (quoting United States v. Salisbury,

983 F.2d 1369, 1375 (6th Cir. 1993)). Brooks has not offered the Court any showing of

surprise or prejudice—accordingly, this argument is denied.


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              10.    Statements of Co-Conspirators

       Brooks argues that the Court’s admission of the co-conspirators’ statements at trial

violated the Confrontation Clause, among other constitutional rights. Federal Rule of

Evidence 801(d)(2)(E) provides that a co-conspirator’s declarations are admissible when the

declarations are made by conspirators during the course of and in furtherance of the

conspiracy. F.R.E. 801(d)(2)(E). Brooks has given the Court no reason to find that any

specific declaration was inadmissible, as Brooks has failed to identify a specific statement

or statements, or even a particular co-conspirator in making his argument. Further, there is

no Confrontation Clause violation here. In United States v. Inadi, 475 U.S. 387, 395-96

(1986), the Supreme Court noted the differences between the out-of-court statements of co-

conspirators and the out-of-court statements of other witnesses. The Supreme Court noted

that co-conspirator statements, “made while the conspiracy is in progress . . . provide

evidence of the conspiracy’s context[,]” and co-conspirators “speak differently when talking

to each other in furtherance of their illegal aims than when testifying on the witness stand.”

Inadi, 475 U.S. at 395. As such, there is significant evidentiary value in the statements of

co-conspirators during the course of a conspiracy. Id. Thus, Brooks’s argument in this

regard is denied.

III.   Conclusion

       In sum, Brooks’s Motion to Adopt Co-Defendant’s Motion to Vacate Judgment and

Grant New Trial [Doc. 617], is hereby GRANTED. However, finding that none of Brooks’s

arguments warrants a judgment of acquittal or a new trial, Brooks’s Motion for Judgment of

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Acquittal or in the Alternative for a New Trial and for an Extension of Time [Doc. 550] is

hereby DENIED, and Brooks’s adopted Motion to Vacate Judgment and Grant a New Trial

[Doc. 610] is also hereby DENIED.

      IT IS SO ORDERED.




                                         s/ Thomas A. Varlan
                                         UNITED STATES DISTRICT JUDGE




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